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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

SADIE HACKLER, on behalf of herself           §
and all others similarly situated,            §
                                              §
Plaintiff,                                    §
                                              §
V.                                            §          Case No. 5:18-CV-00911-XR
                                              §
TOLTECA ENTERPRISES, INC. d/b/a               §
PHOENIX RECOVERY GROUP,                       §
                                              §
Defendant.                                    §


                                ADVISORY TO THE COURT


        Plaintiff and Class Representative Sadie Hackler, by and through her counsel of

record, and pursuant to the Court’s Order of April 27, 2020 (ECF No. 45), advises the

Court of the following:

        1.      Pursuant to the Court’s Order, the parties conferred by conference call on

May 12, 2020 and discussed:

                a. Any changes to Plaintiff’s proposed notice to the class;

                b. The parties plan to ascertain the names and contact information for all

                   class members;

                c. The total number of class members;

                d. The total estimated cost of providing notice to the class;

                e. Any agreement as to allocation of costs of notice among the parties;

        2.      Defendant agreed to allow Plaintiff’s attorneys to directly contact

Defendant’s bulk mailer to determine how many of the form letters were sent during the


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one-year class period (beginning August 31, 2017 and ending August 31, 2018) and the

estimated cost of sending the notice that was approved by the court (with no changes

suggested by Defendant). Plaintiff’s attorney contacted the mailer via email, with copy to

Defendant’s counsel, but due a communication error, that contact was not made until

yesterday. The mailer has not responded as of this time.

      3.      Regardless of the cost of mailing the notice, Defendant opposes shifting the

costs to Defendant. Defendant does not waive its right to appeal the class certification

order or the partial summary judgment order.

      4.      Plaintiff’s counsel will update the Court as soon as the mailer responds with

specific information concerning the class size and costs of notice.


                                             Respectfully submitted,
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                              CERTIFICATE OF SERVICE

       I certify by my signature below that on May 27th, 2020, I have caused a true and
correct copy of the above and foregoing to be served on all counsel of record through the
Court’s Electronic Filing Noticing System.

 Tom Clarke
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Counsel for Defendant


                                               /s/ Benjamin R. Bingham
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